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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
GERALD ANDREWS,                                 :
                                                :
               Plaintiff,                       : CIVIL ACTION
                                                :
       v.                                       :
                                                : NO. 17-0962
KNIGHT, Philadelphia Corrections Officer        :
Sergeant, Individually and in His Official      :
Capacity, et al.,                               : SUGGESTION OF DEATH
                                                :
               Defendants.                      :
                                                :

        Please take Notice that the named Plaintiff in this action, Gerald Andrews, also known as

 Daniel P. Alexander, died on August 17, 2022. See Death Certificate, attached hereto as Exhibit

 A.

        A Motion to Substitute Party will be filed pursuant to Federal Rule of Civil Procedure

 25(a)(1).

                                                    Respectfully submitted,

                                                    DUANE MORRIS LLP

                                                      /s/ Dawnn E. Briddell
                                                    Dana B. Klinges (ID No. 57943)
                                                    Dawnn E. Briddell (ID No. 47329)
                                                    Matthew S. Decker (ID No. 318614)
                                                    30 South 17th Street
                                                    Philadelphia, PA 19103
                                                    Telephone:     (215) 979-1143
                                                    (856) 874-4273 / (215) 989-1168
                                                    Email: DKlinges@duanemorris.com
                                                            DBriddell@duanemorris.com
                                                            MDecker@duanemorris.com

                                                    Attorneys for Plaintiff
 Dated: November 16, 2022
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                                 CERTIFICATE OF SERVICE

       I, Dawnn E. Briddell, certify that on November 16, 2022, I caused a copy of the

foregoing Suggestion of Death to be filed and served via ECF upon Defense Counsel, and all

counsel of record in the Court’s electronic filing system.



                                                        /s/ Dawnn E. Briddell
                                                          Dawnn E. Briddell




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                     EXHIBIT A
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